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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO
·3· · · · · · ·CIVIL ACTION NUMBER 20-CV-01936-STV
·4
·5· · ·TIMOTHY JAMES COATES, GENE CLAPS, MARK MITCHELL, AND
·6· · · · · · · · · · · · KEVIN CURRIER,
·7· · · · · · · · · · · · · Plaintiffs
·8
·9· · · · · · · · · · · · · · · V.
10
11· · · ·THE ADAMS COUNTY SHERIFF'S OFFICE, A GOVERNMENTAL
12· · · ENTITY; RICHARD A. REIGENBORN, IN HIS OFFICIAL AND
13· · · · · · · · · · ·INDIVIDUAL CAPACITY,
14· · · · · · · · · · · · · Defendants
15
16
17
18
19
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21
22
23· ·DEPONENT: KARMEN KELSAY
24· ·DATE:· · ·JULY 13, 2021
25· ·REPORTER: KELSEY PERKINS




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·1· · · · Q· · Can you tell me about your involvement with
·2· ·the leadership at Lodge 1?
·3· · · · A· · The position was to keep records, send in new
·4· ·memberships, close out old memberships, and record the
·5· ·monthly meetings.
·6· · · · Q· · Did you have any other leadership position
·7· ·other than secretary?
·8· · · · A· · No.
·9· · · · Q· · How did you become secretary?
10· · · · A· · I was asked to take the position after the
11· ·previous secretary resigned.
12· · · · Q· · When was that?
13· · · · A· · I believe it was in 2009.
14· · · · Q· · And you became the secretary then --
15· · · · A· · Yes.
16· · · · Q· · -- in 2009?· How long were you the secretary?
17· · · · A· · Until end of 2018, beginning of 2019.
18· · · · Q· · And why are you not the secretary?
19· · · · A· · I left law enforcement.
20· · · · Q· · Does that mean you left Lodge 1 as well?
21· · · · A· · Yes.
22· · · · Q· · Did you leave Lodge 1 at the same time that
23· ·you left the sheriff's office?
24· · · · A· · No.· It was after that.
25· · · · Q· · How long after?




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·1· ·e-mail before?
·2· · · · · · · · · ·(EXHIBIT 15 MARKED FOR IDENTIFICATION)
·3· · · · A· · I'm sure I did, back in 2017.
·4· · · · Q· · Does this refresh your recollection about
·5· ·Mr. Coates FOP membership?
·6· · · · A· · Nothing other than the fact that he choose not
·7· ·to be a member of the FOP any longer?
·8· · · · Q· · You don't know why?
·9· · · · A· · Not personally, no.
10· · · · Q· · Do you know any rumors about it, or any
11· ·non-personal information?
12· · · · A· · I know there was a beef between him and the
13· ·whole group that you have going on over here and at the
14· ·FOP and Rick Reigenborn.
15· · · · Q· · What do you know about that beef?
16· · · · A· · Again, political side of it, the way the
17· ·sheriff's office was running and the treatment of
18· ·employees, and back to the conflict of having command
19· ·staff hand out discipline, but yet be a part of the
20· ·FOP.
21· · · · Q· · You mentioned that the beef was between
22· ·Mr. Coates and -- forget the words you used, but the
23· ·group. Were you referring to the other plaintiffs in
24· ·this case?
25· · · · A· · Yes.




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·1· ·biggest thing was family and support.· And people -- it
·2· ·appeared that people were not doing that anymore once
·3· ·policy was rescinded for fear of retaliation or them
·4· ·losing their jobs.· It changed drastically.
·5· · · · Q· · So when you talk about it being restrictive
·6· ·and so forth, that's -- you're referring to a culture
·7· ·under the Reigenborn administration?
·8· · · · A· · Correct.
·9· · · · Q· · How do you account for that change?· What do
10· ·you think caused it?
11· · · · A· · I -- in my opinion, I believe it was the
12· ·people that he removed from their positions, the people
13· ·he brought into the positions, and the treatment of
14· ·people that were his friends and/or that had -- in IA
15· ·situations.· Mine, for instance -- I was very loyal to
16· ·him during his campaign, and I no longer work for the
17· ·sheriff's office.· Same thing with Templeton.· His
18· ·experience was -- it was, you know, false accusations on
19· ·an IA that appeared after certain events.· And it just
20· ·seemed that pattern made everybody uneasy.
21· · · · Q· · Do you think that Sheriff Reigenborn is very
22· ·sensitive to who is loyal or not to him?
23· · · · A· · In my opinion, absolutely.
24· · · · Q· · Can you say more about that?
25· · · · A· · I can't really expand on it.· I just -- that's




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·1· ·my personal opinion and how I feel about my
·2· ·relationship, my husband's relationships, some of the
·3· ·close people that I know.· If there's a question about
·4· ·loyalty, I believe that there are issues.
·5· · · · Q· · What kinds of issues?
·6· · · · A· · Just -- I don't even know how to experience
·7· ·it.· I -- I just know that his -- one of his best
·8· ·friends, Jason Gallegos, at the time.· Because of FOP
·9· ·relationships, FOP votes, he believed that Jason was no
10· ·longer loyal to him, and he basically dropped him like a
11· ·rock.· And that's -- that's it.· I mean, he just moved
12· ·on.
13· · · · Q· · Do you think that Sheriff Reigenborn takes
14· ·action against people he perceives are not loyal to him?
15· · · · A· · In my opinion, I believe that that's a
16· ·possibility.· Yes.
17· · · · Q· · Do you think people are more fearful about
18· ·their jobs under Sheriff Reigenborn than under previous
19· ·sheriffs?
20· · · · A· · Yes.
21· · · · Q· · Why do you say that?
22· · · · A· · Lack of policy in place and the at-will
23· ·statute -- statute.
24· · · · Q· · Are you basing that also on conversations
25· ·you've had with employees?




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·1· · · · A· · Inside of my friend circle.· Yes.· And
·2· ·observations.
·3· · · · · · ·MR. BOHNET-GOMEZ:· Do you have 30?
·4· · · · · · ·MS. MILLER:· 27.· Do you have any other ones?
·5· · · · · · ·THE WITNESS:· That was a little bit Freudian.
·6· · · · · · ·MS. MILLER:· Do you have 30?
·7· · · · · · ·MR. BOHNET-GOMEZ:· We can get there.· But I'd
·8· · · · rather not.· I just -- I cannot keep track.
·9· · · · · · ·COURT REPORTER:· That's what I'm here for.
10· · · · · · ·MR. BOHNET-GOMEZ:· Thank you.· So this is
11· · · · Exhibit 27.
12· · · · · · · · · ·(EXHIBIT 27 MARKED FOR IDENTIFICATION)
13· ·BY MR. BOHNET-GOMEZ:
14· · · · Q· · All right.· Ms. Kelsay, you've been handed a
15· ·document marked as Exhibit 27 by the court reporter. It
16· ·is an e-mail from Teresa Lekic to you, dated February 8,
17· ·2019, that bears the Bates stamp ACSO 046566.· Do you
18· ·see that?
19· · · · A· · Yes.
20· · · · Q· · Do you recall receiving this e-mail?
21· · · · A· · Vaguely.· Yes.
22· · · · Q· · What is this e-mail?
23· · · · A· · A request that the chiefs wanted copies of
24· ·their training records.
25· · · · Q· · So as far as you remember, it was Coates and




     EXHIBIT BB
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